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        ORDERED in the Southern District of Florida on September 5, 2019.




                                                            Raymond B. Ray, Judge
                                                            United States Bankruptcy Court
_____________________________________________________________________________




                               UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                       www.flsb.uscourts.gov


        In Re:                                          Case No. 18-25753-RBR
        PEDRO PEREZ                                     Chapter 7




                       Debtor(s)                   /


                            ORDER AWARDING FINAL TRUSTEE'S FEES
                                      AND EXPENSES

               THIS MATTER came before the court upon the final application for compensation and
        expenses [ECF #25] filed by trustee, Sonya S. Slott. The court having examined the fee
        application(s) presented and having considered all relevant material thereto, finds that the
        following allowances are reasonable under the applicable provisions of the Bankruptcy Code.
        Therefore it is ORDERED as follows:
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       1. Sonya S. Slott, trustee is allowed total final fees of $616.78 and total final expenses in
           the amount of $97.50, which includes the fees and expenses sought in the pending
           application and all previously awarded interim fees and expenses, if any.
       2. The trustee is authorized to make the balance of payments set forth in this order or to
           pay the awards pro rata if there are insufficient funds.
       In allowing the foregoing fees, the court has considered the criteria specified in 11 U.S.C.
§§326 and 330, and the requirements of Bankruptcy Rule 2016.
                                                 ###
Copy furnished to:
Sonya S. Slott, Chapter 7 trustee

        The trustee shall serve a copy of this order on all required parties and file with the court a
certificate of service conforming with Local Rule 2002-1(F).
